            Case 2:21-cv-00221-RMP                   ECF No. 14          filed 12/06/21     PageID.264 Page 1 of 1
                                                                                            PageID.265
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_                                                FILED IN THE
                                                                                                                      U.S. DISTRICT COURT
                                                     Eastern District of Washington                             EASTERN DISTRICT OF WASHINGTON


                    ADAM S. JENNINGS,                                                                            Dec 06, 2021
                                                                     )                                               SEAN F. MCAVOY, CLERK

                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:21-cv-00221-RMP
                                                                     )
                   DONALD HOLBROOK,
                                                                     )

                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Petition (ECF No. 1) is DISMISSED WITHOUT PREJUDICE.
’
              Judgment is entered in favor of Respondent.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             ROSANNA MALOUF PETERSON                                          .




Date: 12/06/2021                                                            CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Allison Yates
                                                                                          (By) Deputy Clerk

                                                                             Allison Yates
